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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK
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 COUNTY OF ERIE
 DOMINIQUE N. WILSON                                                            Index No.: 18-CV-1255

                                          Plaintiff,
                                                                                STIPULATION
                  -against-

 TOWN OF CHEEKTOWAGA, CHEEKTOWAGA
 POLICE DEPARTMENT and POLICE OFFICER
 TIMOTHY TURNBULL

                                            Defendants.
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        IT IS HEREBY STIPULATED AND AGREED, by and between the attorneys for the
respective parties herein that Plaintiff opposition, if any, to Defendant’s motion seeking summary
judgment is extended for thirty (30) days to on or before August 19, 2022. It is further agreed to
that Defendants will have fourteen (14) to reply, and Plaintiff will have an additional ten (10) days
to reply should Plaintiff chose to cross move in her initial opposition papers.


DATED:           July 19, 2022
                 Floral Park, New York



        /s/ Marc Smith                                                   /s/ Gregory Abram

Paul G. Joyce                                                  Gregory Dale Abram
Marc Smith                                                     Gregory Dale Abram & Associates, PC
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